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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 18-mc-______


    In re Application of

    STOCKBRIDGE FUND, L.P.;
    STOCKBRIDGE ABSOLUTE RETURN
    FUND; OME HOLDINGS LLC;
    PEMBROKE WAY LLC; STANDISH
    ROAD LLC; QUADRE INVESTMENTS,
    L.P.; TABLET HOLDINGS, LLC,

    Petitioners, for an Order Pursuant to 28
    U.S.C. § 1782 to Conduct Discovery for Use
    in a Foreign Proceeding.



      [PROPOSED] ORDER GRANTING PETITIONER’S APPLICATION FOR AN
    EXPEDITED ORDER OF JUDICIAL ASSISTANCE PURSUANT TO 28 U.S.C. § 1782

           WHEREAS, on October 18, 2018, petitioners, Stockbridge Fund, L.P., Stockbridge

   Absolute Return Fund, OME Holdings LLC, Pembroke Way LLC, Standish Road LLC, Quadre

   Investments, L.P., and Tablet Holdings, LLC (“Petitioners”) filed an Application For Judicial

   Assistance Pursuant to 28 U.S.C. § 1782 for discovery (the “Application”).

           The Court has considered the Application, the evidence and arguments presented, and

   sufficient reason appearing, and finds as follows:

           Petitioners have met the requirements under 28 U.S.C. § 1782 for granting the requested

   judicial assistance and relief.

           For purposes of the Application, the Respondent resides or is found in the Southern

   District of Florida.

           The discovery sought through this Application is for use in a pending foreign proceeding.
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           Petitioners, in their capacity as party litigants, are interested persons within the meaning

   of the statute.

           The discretionary factors described by the United States Supreme Court in Intel Corp. v.

   Advanced Micro Devices, Inc., 542 U.S. 241 (2004), weigh in favor of granting the requested

   assistance. The requested discovery appears not to be obtainable through an order from the

   foreign court, there is no indication that the foreign court would not be receptive to U.S. federal

   court judicial assistance as requested in the Application, the Application does not conceal an

   attempt to circumvent foreign proof-gathering restrictions, and the Application seeks necessary

   discovery that is not unduly intrusive or burdensome as the evidentiary requests are narrowly

   tailored both substantively and temporally.

           Accordingly, it is hereby ORDERED that:

           1.        The Application is GRANTED.

           2.        Petitioners are granted leave to serve a subpoena in substantially similar form as

   the form attached to the Application is GRANTED.

           3.        Respondent is directed to filed any objections it may have to the subpoena within

   7 days from the date it is served with the subpoena. In the event that no objections are filed,

   Respondent is directed to produce the documents sought by the subpoena within 14 days of the

   date the subpoena is served upon it, and sit for deposition within 28 days of the date that the

   subpoena is served. In the event that Respondent files an objection, the parties shall appear

   before this Court on ________________, 2018 or as soon thereafter as counsel can be heard, as

   to why an order should not be issued in favor of Petitioners, (i) granting Petitioners leave to serve

   the subpoena on Respondent, and (ii) directing Respondent to produce documents responsive to
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   the Requests within 14 days of the date of the Court’s order, and sit for deposition within 21 days

   of the date of the Court’s order.

          4.         Petitioners are further granted authorization to issue and serve such additional

   follow-up subpoenas on Respondent or its employee as may be necessary to obtain the

   documentary and testimonial evidence for use in the foreign proceedings, as described in the

   Application.

          5.         The Court shall retain jurisdiction over this matter for the purpose of enforcing

   this Order and assessing any supplemental request for discovery assistance that may be requested

   by Petitioners.



   IT IS SO ORDERED.



    Dated: West Palm Beach, Florida
           ______________ __, 2018




                                                                United States District Judge
